Case 2:03-cv-00294-DN Document 979-4 Filed 03/13/07 PagelD.15396 Page 1 of 2

Addendum B
Case 2:03-cv-00294-DN Document 979-4 Filed 03/13/07 PagelD.15397 Page 2 of 2

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